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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


SMARTMATIC USA CORP.,                       Case No. 22-CV-98 (WMW/JFD)
SMARTMATIC INTERNATIONAL
HOLDING B.V., AND
SGO CORPORATION LIMITED,                    NOTICE OF APPEARANCE

              Plaintiffs,

v.

MICHAEL J. LINDELL, AND
MY PILLOW, INC.,

              Defendants.


The undersigned attorney hereby notifies the Court and counsel that Douglas G.

Wardlow and Jeremiah D. Pilon shall appear as counsel for Defendants Michael J.

Lindell and My Pillow, Inc. in this case.



Dated: November 10, 2023                    /s/ Douglas G. Wardlow
                                            Douglas G. Wardlow (MN Bar #339544)
                                            Jeremiah D. Pilon (MN Bar #392825)
                                            1550 Audubon Rd.
                                            Chaska, MN 55318
                                            Telephone: (952) 826-8658
                                            doug@mypillow.com
                                            jpilon@mypillow.com

                                            Counsel for Defendants
